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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
                v.
                                                          1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

        Defendant.


CONCORD MANAGEMENT AND CONSULTING LLC’S UNOPPOSED MOTION FOR
              RELIEF FROM CURRENT DEADLINES

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully requests relief from the Court’s current deadlines

in the form of an extension of time to provide expert notice and serve expert reports. Additionally,

Concord requests an extension of time to move to quash or otherwise oppose the government’s

early return trial subpoenas.

       Undersigned counsel has conferred with counsel for the government who has advised that

the government does not object to the relief sought. Undersigned counsel is mindful of the Court’s

denial yesterday of an unopposed extension sought by the government, and also is aware that in

the past when the parties have agreed upon what they believe to be workable deadlines that the

Court has shortened those deadlines. But experienced trial counsel on both sides have worked

diligently to agree upon dates that are consistent with the complexity of a multitude of issues of

first impression and available resources, while at the same time endeavoring to leave the Court

with significant time to decide each issue. As such, undersigned counsel respectfully believes that

the reasons set forth below justify the suggested and agreed upon dates. In support of this motion,

Defendant states as follows:


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       EXPERT NOTICE

       Pursuant to the Court’s November 25, 2019 Minute Order, the current deadline for Concord

to provide notice of expert testimony and a written summary of such testimony is December 20,

2019. Concord’s position is that it cannot make a determination as to whether experts will be

required until the government has provided its exhibit and witness lists. Specifically, undersigned

counsel is still unaware of the witnesses the government will call from each agency, and as such

cannot determine if any of that evidence will require rebuttal by an expert witness.

       Under the Court’s current Scheduling Order, ECF No. 214, the government will provide

an exhibit list on January 6, 2020 and a witness list on February 3, 2020. Undersigned counsel

will then need to time identify and engage any potential expert witness. As such, Concord requests

that any expert notice and summary of testimony be reset to three weeks following the

government’s witness list, February 24, 2020.

       The government does not oppose this request but reserves its right to file an appropriate

motion regarding any expert notice within two weeks of receiving the notice.

       EARLY RETURN TRIAL SUBPOENA

       On December 12, 2019, the Court granted, in part, the government’s Motion for Early

Return Trial Subpoena, ECF No. 267, as to categories one, two, and three as specified in

Attachment A to the Motion. ECF No. 279. In that Order, the Court set a deadline of December

30, 2019 for the government to file a renewed motion for early-return trial subpoena that narrows

categories four through nine, as specified in Attachment A to the government’s Motion, and

indicated it would set a briefing schedule as to that renewed motion. Id. The Court also set a

deadline of December 20, 2019 for Concord to file any motion to reconsider the Court’s ruling or

to quash the subpoena as to categories one through three.




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       In discussions between the parties regarding scheduling, the government has represented

to undersigned counsel that it intends to file its renewed motion for an early return trial subpoena

on December 20, 2019. In light of this, and the significant legal issues raised by the Court’s Order

and the government’s renewed motion, Concord respectfully requests an extension until January

3, 2020 to file any motion to quash the government’s early return trial subpoenas. This motion

will address both categories one through three, which the Court allowed in its December 12, 2019

Order, and the narrowed categories that are included in the government’s renewed motion. This

revised schedule will both preserve resources of the parties and the Court by resulting in a single

round of briefing, rather than two separate briefing schedules, and allow Concord adequate time

to fully research, assess, and brief the novel issues of law, including Russian law, raised by the

government’s request.

       Counsel for the government does not oppose this request and requests a deadline of January

13, 2020 to respond to any motion to quash filed by Concord. Concord proposes a reply deadline

of January 20, 2020.

       A proposed order is filed herewith.




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Dated: December 18, 2019                Respectfully submitted,

                                        CONCORD MANAGEMENT AND
                                        CONSULTING LLC

                                        By Counsel

                                        /s/Eric A. Dubelier
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